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                         UNITED STATES DISTRICT COURT
                                                    SOUTHERN DISTRICT OF FLORIDA
 ANGELA E. NOBLE                                                                                                       APPEALS SECTION
 CLERK OF COURT                                                                                                             305-523-5080



TO: COUNSEL OF RECORD/APPELLANT                                                                      DATE:
                                                                                                              11/9/2022



 IN RE:                       District Court No: 22-CV-14102-DMM
                              Style: DONALD J. TRUMP v. HILLARY R. CLINTON, et al.

      ORDERING AND DESIGNATION OF REPORTER’S TRANSCRIPTS [Pursuant to FRAP 10(b)]

This will acknowledge the Notice of Appeal filed in the above case which has been transmitted to the Eleventh
Circuit Court of Appeals in Atlanta, GA.

WITHIN FOURTEEN (14) DAYS from the date of the Notice of Appeal being filed, the appellant must complete
the attached Transcript Information Form (TIF), REGARDLESS OF WHETHER TRANSCRIPTS ARE BEING
ORDERED OR NOT. The TIF must be completed and mailed to the District Court Clerk at 400 N. Miami Avenue,
Room 8N09, Miami, FL 33128-7716, ATTN: COURT REPORTER COORDINATOR in the attached envelope.

COMPLETE THE SECTION REQUESTING TRANSCRIPTS ONLY WHEN REQUESTING
TRANSCRIPTS OF HEARINGS WHICH TOOK PLACE IN THE DISTRICT COURT. Arrangements for
payment must be made with the court reporter within ten (10) days of the request.

Counsel appointed pursuant to the Criminal Justice Act must complete a CJA 24, Authorization and Voucher
for Payment of Transcript, attach it to this form and forward them to the COURT REPORTER COORDINATOR
at the above mentioned address. These forms are available at the Intake Section of the Clerk’s Office.

If opposing counsel wishes to file a supplemental designation of a transcript, you must file a motion to supplement
the record with the Court of Appeals in Atlanta. If granted, a supplemental TIF must be prepared and forwarded
to the court reporter. The District Court cannot file a late designation without an order from the Court of Appeals.
The court reporter cannot accept any further designations for the purpose of appeal other than the appellant's original
unless the Court of Appeals has granted permission.

The CERTIFICATE OF READINESS OF THE RECORD ON APPEAL will be transmitted upon the filing of
the court reporter’s transcript or upon notice that a transcript will NOT be ordered.

If you have any questions, please contact the Court Reporter Coordinator at 305-523-5635.

Sincerely,
Angela E. Noble, Clerk of Court

 By:      A. Perez
                              Deputy Clerk

attachment
 ✔   400 North Miami Avenue     299 E. Broward Boulevard   701 Clematis Street          301 Simonton Street, Rm 130   300 South 6th Street
     Room 8N09                  Ft. Lauderdale, FL 33301   West Palm Beach, FL 33401   Key West, FL 33040             Ft. Pierce, FL 34950
     Miami, FL 33128-7716       954-769-5400               561-803-3400                305-296-4947                   561-595-9691
     305-523-5100



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                     ELEVENTH CIRCUIT TRANSCRIPT ORDER FORM
                 Provide all required information and check the appropriate box(es)

PART I.                                         Transcript Information
Within 14 days of the filing of the notice of appeal, the appellant must complete Part I and file this form with the
District Court Clerk and the Court of Appeals Clerk for all cases. 11th Cir. R. 10-1.

Case Information:

Short Case Style:                                             vs
District Court No.:                                            Date Notice of Appeal Filed:
Court of Appeals No. (if available):
Transcript Order Information:

‫ ܆‬No hearing ‫ ܆‬No transcript is required for appeal purposes ‫ ܆‬All necessary transcript(s) already on file

‫ ܆‬I am ordering a transcript of the following proceedings:

                          HEARING DATE(S) / JUDGE/MAGISTRATE / COURT REPORTER NAME(S)

‫ ܆‬Pre-Trial Proceedings
‫ ܆‬Trial
‫ ܆‬Sentence
‫ ܆‬Plea

‫ ܆‬Other

Criminal Appeals:

In a criminal appeal, if the appellant pleaded guilty and intends to raise an issue regarding the guilty plea, the
record must include a transcript of the guilty plea colloquy, and if the appellant intends to raise an issue
regarding the sentence, the record must include a transcript of the sentencing hearing. If such transcripts are
not ordered or are not already on file, you must check the appropriate box(es) below:

‫܆‬       A transcript of a guilty plea colloquy is not being ordered and is not already on file, and I certify that no
        issue regarding a guilty plea will be raised in a merits brief in this appeal.

‫܆‬        A transcript of the sentencing hearing is not being ordered and is not already on file, and I certify that no
         issue regarding sentencing will be raised in a merits brief in this appeal.

Note: Counsel who seek leave to withdraw pursuant to Anders v. California, 386 U.S. 738 (1967), must
ensure the record contains transcripts of all relevant proceedings. See 11th Cir. R. 27-1(a)(8).


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Financial Arrangements:

‫ ܆‬I certify that I have made satisfactory arrangements with the Court Reporter(s) for paying the cost of the
   transcript(s).

‫ ܆‬Criminal Justice Act: My completed AUTH-24 for government payment of transcripts has been uploaded in
  eVoucher and is ready for submission to the magistrate judge or district judge [if appointed by the district
  court] or to the circuit judge [if ordered by or appointed by the circuit court]. [A transcript of the following
  proceedings will be provided only if specifically authorized in Item 13 on the AUTH-24: Voir Dire;
  Opening and Closing Statements of Prosecution and Defense; Prosecution Rebuttal; Jury Instructions.]

Ordering Counsel/Party:
Address:
E-mail:                                                                Phone No.:
I certify that I have completed and filed Part I with the District Court Clerk and the Court of Appeals
Clerk, served all parties, AND sent a copy to the appropriate Court Reporter(s) if ordering a transcript.
11th Cir. R. 10-1.

Date:                     Signature:                                         Attorney for:


PART II.                               Court Reporter Acknowledgment
Within 14 days of receipt, the Court Reporter must complete this section, file this form with the District Court
Clerk, and send a copy to the Court of Appeals Clerk and all parties. The transcript must be filed within 30 days
of the date satisfactory arrangements for paying the cost of the transcript were made unless the Court Reporter
obtains an extension of time to file the transcript.

Date Transcript Order received:
‫ ܆‬Satisfactory arrangements for paying the cost of the transcript were made on:
‫ ܆‬Satisfactory arrangements for paying the cost of the transcript have not been made.
No. of hearing days:
Estimated no. of transcript pages:
Estimated filing date:


Date:                    Signature:                                                     Phone No.:

PART III.                       Notification That Transcript Has Been Filed In District Court
On the date the transcript is filed in the district court, the Court Reporter must complete this section, file this
form with the District Court Clerk, and send a copy to the Court of Appeals Clerk.

I certify that the transcript has been completed and filed with the district court on (date):

Date:                    Signature:

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